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                  IN THE UNITED STATES DISTRICT COURT
                   FOR THE WESTERN DISTRICT OF TEXAS
                             AUSTIN DIVISION

JESUS MIGUEL CASTANEDA,                     §
                                            §
                           Plaintiff,       §
                                            §
v.                                          §              1:20-cv-1039
                                                 CASE NO. ________________
                                            §
                                            §
BRADZOIL, INC.,                             §
                                            §
                          Defendant.        §    JURY TRIAL REQUESTED


                     PLAINTIFF’S ORIGINAL COMPLAINT



TO THE HONORABLE COURT:

       NOW COMES Plaintiff, Jesus Miguel Castaneda, complaining of Defendant,

Bradzoil, Inc., and files this Plaintiff’s Original Complaint alleging the following:

                               I. Nature of the Case

      1.     Plaintiff, Jesus Miguel Castaneda, brings this action under the Families

First Coronavirus Response Act (FFCRA), Pub. L. No. 116-127, 134 Stat. 178 (2020),

for the unlawful employment practices committed by Defendant, Bradzoil, Inc.,

against Plaintiff by interfering with Plaintiff’s paid leave and by terminating

Plaintiff’s employment for taking paid leave.

                        II. Parties and Service of Process

      2.     Plaintiff is an individual who resides in the Western District of Texas.




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      3.     Defendant, Bradzoil, Inc., does business in the Western District of Texas

and may be served with process by serving its registered agent, Richard P Cancilla,

128 State Hwy 46, Seguin, Texas 78155.

                             III. Jurisdiction & Venue

      4.     This Court has jurisdiction over this suit because Castaneda’s causes of

action arise under federal law, i.e., the FFCRA. Venue is proper in the Western

District of Texas because all or a substantial part of the events or omissions giving

rise to Plaintiff’s claims occurred in the Western District of Texas.

                             IV. Factual Background

      5.     Jesus Miguel Castaneda worked as Assistant Manager for Bradzoil at

its oil change business in Schertz, Texas, having been there over eight years. Because

of the COVID-19 pandemic, schools in Texas shuttered in-person learning in the

spring of 2020 and instituted remote learning from home for school-aged children.

Castaneda has three children who attend school and require supervision at home. No

one else was available to care for Castaneda’s children.

      6.     Castaneda discovered that a federal law had been passed that allowed a

parent, like Castaneda, to receive paid leave to stay home and supervise his children

while they continued remote-learning education. Notably, Castaneda did not learn

about his legal rights from his employer because Bradzoil failed to post the Employee

Rights poster on April 1, 2020, as required by the United States Department of Labor,

nor did Bradzoil text or e-mail employees about the new law.

      7.     On April 7, 2020, Castaneda communicated with his manager and asked

for paid leave under this new federal law and informed his manager of the situation

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with his children’s school closures. This agitated his manager, who told Castaneda to

“keep your mouth shut” and to not bother corporate with his request for paid leave.

When his manager failed to grant paid leave, Castaneda sent his request to corporate

HR. Even then, Bradzoil dragged its feet concerning the leave and Castaneda was

forced to use a week of his accrued vacation time caring for his children at home. On

April 17, Castaneda finally received paperwork from Bradzoil. He completed the

paperwork, assembled all the necessary documentation from the schools, and

provided it all to Bradzoil on April 23.

         8.      The next day, April 24, Castaneda went to pick up his paycheck when

all the other employees received their checks. But the Company did not have a

paycheck for Castaneda. He was told it would be mailed to him. Later that evening

he was told to return to work the next day to pick up his check. When he arrived on

April 25, his manager handed him his check and then said, “You have a damage claim

and you are terminated.” The manager gave no specifics about the purported damage

claim.

         9.      Just two days after presenting paperwork requesting paid leave,

Bradzoil fired Castaneda and gave him a bogus excuse for his discharge.

                                  V. Causes of Action

         10.     The FFCRA includes the Emergency Paid Sick Leave Act (EPSLA),

which provides for paid sick leave for COVID-19-related reasons with enforcement

provisions through the Fair Labor Standards Act (FLSA), and the Emergency Family

and Medical Leave Expansion Act (EFMLEA), which provides expanded paid medical




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leave for COVID-19-related reasons by expanding the FMLA. Castaneda alleges

violations of the EPSLA and EFMLEA and, by extension, the FLSA and FMLA.

Violations of the EPSLA

      11.     The EPSLA entitles certain employees to take up to two weeks of paid

sick leave. The EPSLA requires employers to provide paid sick leave to employees

who are unable to work for reasons having to do with COVID-19 including, but not

limited to, where the employee is caring for his daughters whose school has been

closed due to COVID-19 related reasons. 29 CFR 826.20(a)(1)(v).

      12.     The EPSLA also requires employers to “post and keep posted on its

premises, in conspicuous places a notice explaining the FFCRA’s paid leave

provisions and providing information concerning the procedures for filing complaints

of violations of the FFCRA with the Wage and Hour Division.” 29 CFR § 826.80.

      13.     The EPSLA prohibits an employer “from discharging, disciplining, or

discriminating against any Employee because such Employee took Paid Sick Leave

under the EPSLA.” 29 CFR §826.150(a). “An Employer who discharges, disciplines,

or discriminates against an Employee in the manner described in subsection (a) is

considered to have violated section 15(a)(3) of the FLSA, 29 U.S.C. 215(a)(3), and

shall be subject to the enforcement provisions relevant to such violations set forth in

sections 16 and 17 of the FLSA, 29 U.S.C. 216, 217.” 29 CFR 826.150(b).

      14.     Castaneda engaged in protected activity when he sought paid leave to

care for his daughters because of the COVID-19-related school closures.

      15.     Bradzoil violated the EPSLA when it failed to post notice on April 1 of

employees’ rights under the FFRCA, forced Castaneda to use almost 40 hours of

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accrued paid leave before receiving leave under the EPSLA, and terminated

Castaneda’s employment.

      16.     The timing between Castaneda’s protected activity and his termination

are very close. The person who terminated Castaneda, his manager, was both aware

of Castaneda’s protected activity and exhibited a negative attitude toward

Castaneda’s request for paid sick leave. While Castaneda was on vacation leave, his

manager conjured up a way to get rid of him. The “damage claim” asserted by the

manager as the reason for Castaneda’s termination is bogus. Further, there have

been several employees with “damage claims” who were not fired by the manager, so

Bradzoil does not uniformly enforce its policies, which warrants an inference of

retaliation involving this decision to terminate.

      17.     Bradzoil discharged Castaneda because of his protected activity, which

caused him damages.

Violations of the EFMLEA

      18.     The EFMLEA amends the FMLA to entitle certain employees to 12

weeks of leave per year “because of a qualifying need related to a public health

emergency.” 29 U.S.C. 2612(a)(1)(F). An employee has such a qualifying need if “the

employee is unable to work (or telework) due to a need for leave to care for the son or

daughter under 18 years of age of such employee if the school or place of care has

been closed…due to a public health emergency.” Id. at § 2620(a)(2)(A). The requisite

“public health emergency” must be related to COVID-19. Id. at § 2620(a)(2)(B).

      19.     The EFMLEA prohibits the same employer conduct as the FMLA. The

FMLA makes it unlawful for any employer to interfere with, restrain, or deny the

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exercise of or the attempt to exercise any right under the EFMLEA, or discharge or

otherwise discriminate against an individual for opposing any practice made

unlawful by the EFMLEA.

      20.     Bradzoil is an “employer” as that term is defined under the FMLA.

Bradzoil had 50 or more employees working within 75 miles of the Castaneda’s

worksite.

      21.     Castaneda is an “eligible employee” within the meaning of the FMLA in

that he was employed by Bradzoil for at least 12 months and for at least 1,250 hours

of service during the previous 12-month period.

      22.     Bradzoil intentionally interfered with and/or denied the exercise of

rights provided under the FMLA/EFMLEA by failing to provide proper notices to

Castaneda, and by discharging Castaneda.

      23.     Bradzoil violated both Castaneda’s prescriptive and proscriptive rights

under the FMLA by the actions described above and by retaliating against him for

exercising his rights under the EFMLEA.

      24.     Bradzoil   acted   willfully     in   violating   his   rights   under   the

FMLA/EFMLEA.

                                    VI. Damages

      25.     As a result of the above, Castaneda has lost past and future wages and

benefits of employment. Castaneda has also suffered compensatory damages in the

past and will likely suffer compensatory damages in the future because of Bradzoil’s

conduct.

      26.     Plaintiff seeks the recovery of liquidated damages under the FMLA and

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FLSA.

                                  VII. Attorneys’ Fees

        27.     Castaneda has also had to employ attorneys to vindicate his rights

under the law, and therefore, he seeks reasonable and necessary attorneys’ fees and

costs under the FMLA and FLSA.

                             VIII. Demand for Jury Trial

        28.     Castaneda hereby respectfully demands a trial by jury of all claims and

issues in this cause.

        WHEREFORE, Plaintiff, Jesus Miguel Castaneda, respectfully requests that

the Court issue citation for Defendant, Bradzoil, Inc., to appear and answer, and that

upon final trial, Plaintiff have and recover a judgment against Defendant for all

actual damages suffered and/or incurred by Plaintiff, for pre-judgment and post-

judgment interest at the highest rates allowed by law, for court costs, attorneys’ fees,

liquidated damages, and for all other relief to which Plaintiff may be justly entitled.




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                          Respectfully submitted,

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